Case 3:23-cr-00147-MEM Documents Filed 06/15/23 Page 1 of 1

FILED
SCRANTON

UNITED STATES DISTRICT COURT JUN 15, 2023
MIDDLE DISTRICT OF PENNSYLVANIA rest
DEPUTY CLERK

UNITED STATES OF AMERICA
CR. NO. 3:23-CR-00147

Vv.
(MANNION, J.)

DARYL RINKER,

Defendant. FILED UNDER SEAL

MOTION TO UNSEAL THE CASE

The United States Attorney for the Middle District of Pennsylvania
and James M. Buchanan, Assistant United States Attorney, respectfully

move the Court to unseal this case.

Respectfully submitted,

GERARD M. KARAM
United States Attorney

/s/ James M. Buchanan

JAMES M. BUCHANAN
Assistant United States Attorney

ORDER

And now this __ day of June 20238, the case is hereby unsealed.

MALACHY E. MANNION
U!S. DISTRICT COURT JUDGE

